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                      IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                             Plaintiff,
vs.                                                                  CR. NO. 22-462 DHU


LATRICE THOMAS,

                             Defendant.

           EMERGENCY MOTON TO MODIFY CONDITIONS OF RELEASE

       The Defendant Latrice Thomas (“Ms. Thomas”), through his undersigned counsel,

respectfully moves the Court to modify conditions of release previously set in this case on May

25, 2022. In support of this motion, Ms. Thomas states as follows:

       On May 25, 2022, Ms. Thomas was released to the custody of the Hoffman House in

Albuquerque, New Mexico. Ms. Thomas recently was awarded rental assistance to pay for her

rent at her designated Hoffman House for the next six (6) months.

       Since her release, Ms. Thomas has been compliant with her conditions of release. Her

release conditions included GPS monitoring and supervision U.S. Pretrial Services. See, Order

Setting Conditions of Release, Doc. 33. The Order signed by the Court also states that Ms.

Thomas is to remain at Hoffman House until a bed space becomes available at La Pasada

Halfway House.

       As the Court may recall, Ms. Thomas suffers from a knee injury which requires regular

medical therapy and treatment. She currently ambulates with the assistance of crutches. She is

scheduled for knee surgery on September 2, 2022 at Rust Presbyterian Hospital in Rio Rancho,
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New Mexico. The Hoffman House where she currently resides has made accommodations for

Ms. Thomas’ post-surgery recovery.

          Considering the foregoing facts, Ms. Thomas respectfully requests that her conditions of

release be modified to allow her to remain at her Hoffman House residence until all pending

proceedings in this case are completed.

       AUSA Jack Burkhead opposes this motion with the caveat that he does not oppose Ms.

Thomas remaining at her Hoffman House residence until this motion is heard. U.S. Probation

Officer Beatrice Manzanares opposes this motion.

       WHEREFORE, Ms. Thomas respectfully moves this Court to modify her conditions of

release as requested and to allow her to remain at the Hoffman House pending a ruling on this

motion.

                                              Respectfully Submitted:
                                              ROMERO & WINDER, PC

                                       By:     /s/ Joe M. Romero, Jr.
                                              Joe M. Romero, Jr.
                                              Attorney for Defendant
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                                 CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing to all counsel of record via the
Court’s CM/ECF electronic document and delivery system.

“Electronically Filed”
/s/ Joe M. Romero. Jr.
Attorney for Defendant




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